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                                    EXHIBIT A

                                   Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------- x
                                                          :
In re:                                                    :   Chapter 11
                                                          :
MALLINCKRODT PLC, et al.,                                 :   Case No. 20-12522 (JTD)
                                                          :
                            1
                  Debtors.                                :   (Jointly Administered)
                                                          :
--------------------------------------------------------- x   Re: Docket No. ____


         ORDER SUSTAINING GENERAL UNSECURED CLAIMS TRUSTEE’S
    [THIRD] OMNIBUS OBJECTION TO CERTAIN NO LIABILITY/NO SUPPORTING
               DOCUMENTATION CLAIMS (NON-SUBSTANTIVE)

        Upon the objection (the “Objection”)2 of Heather L. Barlow, solely in her capacity as the

Trustee (the “Trustee”) of the Mallinckrodt General Unsecured Claims Trust (the “General

Unsecured Claims Trust”) to the No Liability/No Supporting Documentation Claims, set forth

on Exhibit 1 hereto all as more fully set forth in the Objection; and this Court having reviewed the

Objection; and this Court having jurisdiction to consider the Objection and the relief requested

therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware dated as of February

29, 2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2) and that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Objection

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that proper and



1
 A complete list of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of the
Reorganized Debtors’ claims and noticing agent at http://restructuring.ra.kroll.com/Mallinckrodt. The Reorganized
Debtors’ mailing address is 675 McDonnell Blvd., Hazelwood, Missouri 63042.
2
 Capitalized terms used but not otherwise defined herein have the same meanings ascribed to such terms in the
Objection.


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adequate notice of the Objection has been given and that no other or further notice is necessary;

and upon the record herein; and after due deliberation thereon; and this Court having determined

that there is good and sufficient cause for the relief granted in this Order, therefore, it is hereby

         ORDERED, ADJUDGED, AND DECREED THAT:

         1.     The Objection is GRANTED, as set forth herein.

         2.     Any response to the Objection not otherwise withdrawn, resolved, or adjourned is

hereby overruled on its merits.

         3.     The No Liability/No Supporting Documentation Claims listed on the attached

Exhibit 1 are disallowed and expunged in their entirety.

         4.     This Order shall be deemed a separate order with respect to each of the No

Liability/No Supporting Documentation Claims. Any stay of this Order pending appeal by any of

the claimants whose No Liability/No Supporting Documentation Claim(s) are subject to this Order

shall apply only to the contested matter which involves such claimant and shall not act to stay the

applicability or finality of this Order with respect to the other contested matters listed in the

Objection or this Order.

         5.     The Trustee and Kroll Restructuring Administration LLC (f/k/a Prime Clerk LLC)

are authorized to take all actions necessary and appropriate to give effect to this Order.

         6.     Kroll Restructuring Administration LLC (f/k/a Prime Clerk LLC) is authorized to

modify the claims register to comport with the relief granted by this Order.

         7.     Nothing in the Objection or this Order shall be deemed or construed: (a) as an

admission as to the validity of any claim against the Reorganized Debtors or the General

Unsecured Claims Trust; (b) as a waiver of the Reorganized Debtors’ or the Trustee’s rights to

dispute or otherwise object to any claim on any grounds or basis; or (c) to waive or release any



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right, claim, defense, or counterclaim of the Reorganized Debtors or the Trustee, or to estop the

Reorganized Debtors or the Trustee from asserting any right, claim, defense, or counterclaim

(including setoff).

         8.     The terms and conditions of this Order shall be immediately enforceable and

effective upon its entry.

         9.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




                                                 3
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                                        EXHIBIT 1

                      No Liability/No Supporting Documentation Claims




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                                                                                                                                                                                            Total Asserted
                                                                                                                                                                               Total        Amount ($0.00
Claim      Claim Date                                                                                                                                       Postal             Schedule     reflects no asserted
Number     Filed        Debtor                Name                  Address1              Address2         Address3       Address4   City           State   Code     Country   Amount       liquidated claim)
    1323      1/22/2021 Mallinckrodt plc
    1340      1/25/2021 Mallinckrodt plc
    1460       2/1/2021 Mallinckrodt plc
                                              Confidential Acthar
    1472       2/2/2021 Mallinckrodt plc      Patient_00483
                                              Confidential Acthar
    1476       2/2/2021 Mallinckrodt plc      Patient_08815
                                              Confidential Acthar
    1515       2/3/2021 Mallinckrodt plc      Patient_35301
    1555       2/3/2021 Mallinckrodt plc
                                              Confidential Acthar
    1757       2/5/2021 Mallinckrodt plc      Patient_02296
                                              Confidential Acthar
    1761       2/7/2021 Mallinckrodt plc      Patient_59298

                                              Grady, Michael and
    1793       2/8/2021 Mallinckrodt plc      Kathleen              Dysart Law Firm, PC   340                                        Chesterfield   MO      63017                   $0.00                  $0.00

                        Acthar IP Unlimited
    1829       2/8/2021 Company

                        Acthar IP Unlimited
    1832       2/8/2021 Company
                                              Confidential Acthar
    1944       2/8/2021 Mallinckrodt plc      Patient_54679
                                              Confidential Acthar
    1948       2/8/2021 Mallinckrodt plc      Patient_30101
                                              Confidential Acthar
    1979       2/8/2021 Mallinckrodt plc      Patient_56883
                                              Confidential Acthar
    1984       2/8/2021 Mallinckrodt plc      Patient_21949
                                              Confidential Acthar
    1999       2/9/2021 Mallinckrodt plc      Patient_42285
                                              Confidential Acthar
    2002       2/8/2021 Mallinckrodt plc      Patient_55805
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                                    Confidential Acthar
2043    2/8/2021 Mallinckrodt plc   Patient_57477
                                    Confidential Acthar
2045    2/9/2021 Mallinckrodt plc   Patient_04443
                                    Confidential Acthar
2047    2/9/2021 Mallinckrodt plc   Patient_16533
                                    Confidential Acthar
2048    2/9/2021 Mallinckrodt plc   Patient_39397
                                    Confidential Acthar
2316   2/10/2021 Mallinckrodt plc   Patient_47243
                                    Confidential Acthar
2426   2/10/2021 Mallinckrodt plc   Patient_18151
                                    Confidential Acthar
2447   2/11/2021 Mallinckrodt plc   Patient_22061
                                    Confidential Acthar
2905   2/11/2021 Mallinckrodt plc   Patient_48222
                                    Confidential Acthar
2950   2/11/2021 Mallinckrodt plc   Patient_30603
                                    Confidential Acthar
2958   2/12/2021 Mallinckrodt plc   Patient_01646
                                    Confidential Acthar
2992   2/11/2021 Mallinckrodt plc   Patient_22800
                                    Confidential Acthar
3368   2/11/2021 Mallinckrodt plc   Patient_50627
                                    Confidential Acthar
3506   2/12/2021 Mallinckrodt plc   Patient_36501
                                    Confidential Acthar
3520   2/12/2021 Mallinckrodt plc   Patient_62007
                                    Confidential Acthar
3658   2/15/2021 Mallinckrodt plc   Patient_14232
4571   2/16/2021 Mallinckrodt plc
                                                                                                  221 W.
                                                          Humphrey Farrington   c/o Jonathan      Lexington Ave,
5043   2/16/2021 Mallinckrodt plc   Westcott, Mathew      and McClain           Soper             STE 400              Independence   MO   64050   $0.00   $0.00
                                                                                c/o Jonathan      221 W.
                                                          Humphrey Farrington   Soper and Colin   Lexington, Ste
5234   2/16/2021 Mallinckrodt plc   Lloyd, Ronnell        and McClain           McClain           400                  Independence   MO   64050   $0.00   $0.00
                                    Confidential Acthar
5268   2/17/2021 Mallinckrodt plc   Patient_34325
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                 Mallinckrodt Brand
                 Pharmaceuticals
5308   2/16/2021 LLC
5360   2/16/2021 Mallinckrodt plc
                                      Confidential Acthar
5400   2/16/2021 Mallinckrodt plc     Patient_29411
                                      Confidential Acthar
5445   2/17/2021 Mallinckrodt plc     Patient_47939
                                      Confidential Acthar
5449   2/16/2021 Mallinckrodt plc     Patient_14278         2865 Tall O
                                      Confidential Acthar
5912   2/16/2021 Mallinckrodt plc     Patient_28482
                                      Confidential Acthar
5919   2/16/2021 Mallinckrodt plc     Patient_45617
                 Mallinckrodt ARD
5949   2/16/2021 LLC
                                      Confidential Acthar
5958   2/16/2021 Mallinckrodt plc     Patient_52089
                                      Confidential Acthar
6145   2/17/2021 Mallinckrodt plc     Patient_16848
                                      Confidential Acthar
6197   2/16/2021 Mallinckrodt plc     Patient_19371
                                      Confidential Acthar
6228   2/19/2021 Mallinckrodt plc     Patient_02917
                                      Confidential Acthar
6342   2/16/2021 Mallinckrodt plc     Patient_50063
                                      Confidential Acthar
6343   2/16/2021 Mallinckrodt plc     Patient_31892
                                      Confidential Acthar
6364   2/16/2021 Mallinckrodt plc     Patient_27970
                                      Confidential Acthar
6366   2/16/2021 Mallinckrodt plc     Patient_15336
                                      Confidential Acthar
6371   2/16/2021 Mallinckrodt plc     Patient_39563
                                      Confidential Acthar
6373   2/16/2021 Mallinckrodt plc     Patient_28720
                                      Confidential Acthar
6385   2/16/2021 Mallinckrodt plc     Patient_59908
                                      Confidential Acthar
6410   2/16/2021 Mallinckrodt plc     Patient_03747
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                                    Confidential Acthar
6432   2/16/2021 Mallinckrodt plc   Patient_59650
                                    Confidential Acthar
6444   2/16/2021 Mallinckrodt plc   Patient_12017
                                    Confidential Acthar
6458   2/17/2021 Mallinckrodt plc   Patient_00031
                                    Confidential Acthar
6462   2/16/2021 Mallinckrodt plc   Patient_58693
                                    Confidential Acthar
6471   2/16/2021 Mallinckrodt plc   Patient_20320
                 Mallinckrodt ARD   Confidential Acthar
6531   2/16/2021 LLC                Patient_28720
                                    Confidential Acthar
6944   2/16/2021 Mallinckrodt plc   Patient_19492
                                    Confidential Acthar
8411   2/22/2021 Mallinckrodt plc   Patient_60115
                                    Cement Masons’ Local                            311 S. Wacker
6195   2/16/2021 Mallinckrodt LLC   502 Welfare Trust Fund    Johnson + Krol        Drive             Suite 1050           Chicago     IL      60606   $0.00   $0.00
                                    Central States Joint
                 Mallinckrodt ARD   Board Health and                                311 S. Wacker
5785   2/16/2021 LLC                Welfare Trust Fund        Johnson + Krol        Drive             Suite 1050           Chicago     IL      60606   $0.00   $0.00
                                    Iron Workers St. Louis
                 Mallinckrodt ARD   District Council Health                         311 S. Wacker
5781   2/16/2021 LLC                & Welfare Fund            Johnson + Krol        Drive             Suite 1050           Chicago     IL      60606   $0.00   $0.00
                                    Cement Masons’ Local
                                    No. 502 Retiree                                 311 S. Wacker
5435   2/16/2021 Mallinckrodt LLC   Welfare Fund              Johnson + Krol        Drive             Suite 1050           Chicago     IL      60606   $0.00   $0.00
                 Mallinckrodt ARD   Pipe Fitters’ Welfare                           311 S. Wacker
5249   2/16/2021 LLC                Fund, Local 597           Johnson + Krol        Drive             Suite 1050           Chicago     IL      60606   $0.00   $0.00
                                    Plumbers, Pipe Fitters
                                    and MES Local Union
                                    No. 392 Health &                                311 S. Wacker
5215   2/16/2021 Mallinckrodt plc   Welfare Fund              Johnson + Krol        Drive             Suite 1050           Chicago     IL      60606   $0.00   $0.00
                 Mallinckrodt       Iron Workers St. Louis
                 Pharmaceuticals    District Council Health                         311 S. Wacker
4110   2/15/2021 Limited            & Welfare Fund            Johnson + Krol        Drive             Suite 1050           Chicago     IL      60606   $0.00   $0.00
                                    International Union of
                                    Operating Engineers                                               311 S. Wacker
                 Mallinckrodt ARD   Local 399 Health &                                                Drive, Suite
5799   2/16/2021 LLC                Welfare Fund              Johnson & Krol, LLC   Jeffrey A. Krol   1050                 Chicago     IL      60606   $0.00   $0.00
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                                    Iron Workers St. Louis                                           311 S. Wacker
                                    District Council Health                                          Drive Suite
4113   2/15/2021 Mallinckrodt plc   & Welfare Fund          Johnson & Krol, LLC    Jeffrey A. Krol   1050                      Chicago      IL      60606   $0.00   $0.00

                 Mallinckrodt                                                                        311 S. Wacker
                 Pharmaceuticals    Pipe Fitters’ Welfare                                            Drive Suite
4095   2/15/2021 Limited            Fund, Local 597          Johnson & Krol, LLC   Jeffrey A. Krol   1050                      Chicago      IL      60606   $0.00   $0.00
                                    Automobile Mechanics’
                                    Local No. 701 Union                                              311 S. Wacker
                                    and Industry Welfare                                             Drive, Suite
3101   2/12/2021 Mallinckrodt LLC   Fund                     Johnson & Krol, LLC   Jeffrey A. Krol   1050                      Chicago      IL      60606   $0.00   $0.00
                                    International Union of
                                    Operating Engineers                                              311 S. Wacker
                                    Local 399 Health &                                               Drive, Suite
3091   2/12/2021 Mallinckrodt plc   Welfare Fund             Johnson & Krol, LLC   Jeffrey A. Krol   1050                      Chicago      IL      60606   $0.00   $0.00
                                    Electrical Insurance
                 Mallinckrodt ARD   Trustees Welfare Trust                         311 S. Wacker
5284   2/16/2021 LLC                Fund                     Johnson & Krol        Drive             Suite 1050                Chicago      IL      60606   $0.00   $0.00
                                    Electrical Insurance
                                    Trustees Welfare Trust                         311 S. Wacker
3165   2/12/2021 Mallinckrodt plc   Fund                     Johnson & Krol        Drive             Suite 1050                Chicago      IL      60606   $0.00   $0.00
                                    Cement Masons’ Local
                                    No. 502 Retiree                                Johnson & Krol,   311 S. Wacker
6344   2/16/2021 Mallinckrodt plc   Welfare Fund             Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                                    Dakotas and Western
                 Mallinckrodt       Minnesota Electrical                                             311 S. Wacker
                 Pharmaceuticals    Industry Health and                            Johnson & Krol,   Drive, Suite
6315   2/16/2021 Limited            Welfare Fund             Jeffrey A. Krol       LLC               1050                      Chicago      IL      60606   $0.00   $0.00

                                    Plumbers Local 210                                               311 S. Wacker
                                    Health and Welfare                             Johnson & Krol,   Drive, Suite
6281   2/16/2021 Mallinckrodt plc   Fund                     Jeffrey A. Krol       LLC               1050                      Chicago      IL      60606   $0.00   $0.00
                                    Dakotas and Western
                                    Minnesota Electrical                                             311 S. Wacker
                                    Industry Health and                            Johnson & Krol,   Drive, Suite
6253   2/16/2021 Mallinckrodt plc   Welfare Fund             Jeffrey A. Krol       LLC               1050                      Chicago      IL      60606   $0.00   $0.00

                 Mallinckrodt       Cement Masons’ Local                                             311 S. Wacker
                 Pharmaceuticals    No. 502 Retiree                                Johnson & Krol,   Drive, Suite
6248   2/16/2021 Limited            Welfare Fund         Jeffrey A. Krol           LLC               1050                      Chicago      IL      60606   $0.00   $0.00
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                                    Cement Masons’ Local                      311 S. Wacker
6074   2/16/2021 Mallinckrodt plc   502 Welfare Trust Fund Jeffrey A. Krol    Drive, Suite 1050                             Chicago      IL      60606   $0.00   $0.00
                                    Plumbers and
                 Mallinckrodt ARD   Steamfitters Local No.                    Johnson & Krol,     311 S. Wacker
5921   2/16/2021 LLC                440 Welfare Fund       Jeffrey A. Krol    LLC                 Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                                    Automobile Mechanics’
                                    Local No. 701 Union                                           311 S. Wacker
                 Mallinckrodt ARD   and Industry Welfare                      Johnson & Krol,     Drive, Suite
5899   2/16/2021 LLC                Fund                   Jeffrey A. Krol    LLC                 1050                      Chicago      IL      60606   $0.00   $0.00

                                    Kentucky Laborers                                             311 S. Wacker
                                    District Council Health                   Johnson & Krol,     Drive, Suite
5802   2/16/2021 Mallinckrodt plc   and Welfare Fund        Jeffrey A. Krol   LLC                 1050                      Chicago      IL      60606   $0.00   $0.00
                                    Plumbers, Pipe Fitters
                                    and MES Local Union
                                    No. 392 Health &                          Johnson & Krol,     311 S. Wacker
5751   2/16/2021 Mallinckrodt LLC   Welfare Fund            Jeffrey A. Krol   LLC                 Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00

                                                                                                  311 S. Wacker
                                    Tri-County Building                       Johnson & Krol,     Drive, Suite
5392   2/16/2021 Mallinckrodt plc   Trades Health Fund      Jeffrey A. Krol   LLC                 1050                      Chicago      IL      60606   $0.00   $0.00

                                                                                                  311 S. Wacker
                                    Tri-County Building                       Johnson & Krol,     Drive, Suite
5317   2/16/2021 Mallinckrodt LLC   Trades Health Fund      Jeffrey A. Krol   LLC                 1050                      Chicago      IL      60606   $0.00   $0.00

                                                                                                  311 S. Wacker
                 Mallinckrodt ARD   Roofers’ Unions                           Johnson & Krol,     Drive, Suite
5228   2/16/2021 LLC                Welfare Trust Fund      Jeffrey A. Krol   LLC                 1050                      Chicago      IL      60606   $0.00   $0.00

                                                                                                  311 S. Wacker
                                    Roofers’ Unions                           Johnson & Krol,     Drive, Suite
5222   2/16/2021 Mallinckrodt plc   Welfare Trust Fund      Jeffrey A. Krol   LLC                 1050                      Chicago      IL      60606   $0.00   $0.00

                 Mallinckrodt       Plumbers Local 210                                            311 S. Wacker
                 Pharmaceuticals    Health and Welfare                        Johnson & Krol,     Drive, Suite
5211   2/16/2021 Limited            Fund                    Jeffrey A. Krol   LLC                 1050                      Chicago      IL      60606   $0.00   $0.00
                                    Kentucky Laborers
                                    District Council Health                   Johnson & Krol,     311 S. Wacker
5166   2/16/2021 Mallinckrodt LLC   and Welfare Fund        Jeffrey A. Krol   LLC                 Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
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                 Mallinckrodt
                 Pharmaceuticals    Cement Masons’ Local                           Johnson & Krol,   311 S. Wacker
4950   2/16/2021 Limited            502 Welfare Trust Fund   Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                                    Plumbers and
                                    Steamfitters Local No.                         Johnson & Krol,   311 S. Wacker
4333   2/15/2021 Mallinckrodt LLC   440 Welfare Fund         Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                 Mallinckrodt       Plumbers and
                 Pharmaceuticals    Steamfitters Local No.                         Johnson & Krol,   311 S. Wacker
4329   2/15/2021 Limited            440 Welfare Fund         Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                                    Plumbers and
                                    Steamfitters Local No.                         Johnson & Krol,   311 S. Wacker
4168   2/15/2021 Mallinckrodt plc   440 Welfare Fund         Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                 Mallinckrodt       Central States Joint
                 Pharmaceuticals    Board Health and                               Johnson & Krol,   311 S. Wacker
4138   2/15/2021 Limited            Welfare Trust Fund       Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                                    Central States Joint
                                    Board Health and                               Johnson & Krol,   311 S. Wacker
4125   2/15/2021 Mallinckrodt plc   Welfare Trust Fund       Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                                    Central States Joint
                                    Board Health and                               Johnson & Krol,   311 S. Wacker
4123   2/15/2021 Mallinckrodt LLC   Welfare Trust Fund       Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00

                                    Iron Workers St. Louis                                           311 S. Wacker
                                    District Council Health                        Johnson & Krol,   Drive, Suite
4114   2/15/2021 Mallinckrodt LLC   & Welfare Fund          Jeffrey A. Krol        LLC               1050                      Chicago      IL      60606   $0.00   $0.00

                                    Pipe Fitters’ Welfare                          Johnson & Krol,   311 S. Wacker
4087   2/15/2021 Mallinckrodt LLC   Fund, Local 597          Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00

                                    Pipe Fitters’ Welfare                          Johnson & Krol,   311 S. Wacker
4086   2/15/2021 Mallinckrodt plc   Fund, Local 597          Jeffrey A. Krol       LLC               Drive           Suite 1050 Chicago     IL      60606   $0.00   $0.00
                                    Automobile Mechanics’
                                    Local No. 701 Union                                              311 S. Wacker
                                    and Industry Welfare                           Johnson & Krol,   Drive, Suite
3093   2/12/2021 Mallinckrodt plc   Fund                     Jeffrey A. Krol       LLC               1050                      Chicago      IL      60606   $0.00   $0.00
                                    Plumbers and
                 Mallinckrodt       Pipefitters Local 502                                            311 S. Wacker
                 Pharmaceuticals    Health and Welfare                             Johnson & Krol,   Drive, Suite
3089   2/12/2021 Limited            Fund                     Jeffrey A. Krol       LLC               1050                      Chicago      IL      60606   $0.00   $0.00
                 Mallinckrodt ARD   Cement Masons’ Local
6391   2/16/2021 LLC                502 Welfare Trust Fund   311 S. Wacker Drive   Suite 1050                                  Chicago      IL      60606   $0.00   $0.00
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                                    Dakotas and Western
                                    Minnesota Electrical
                                    Industry Health and
6213   2/16/2021 Mallinckrodt LLC   Welfare Fund              311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                    Cement Masons’ Local
                 Mallinckrodt ARD   No. 502 Retiree
5437   2/16/2021 LLC                Welfare Fund              311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                 Mallinckrodt ARD   Tri-County Building
5346   2/16/2021 LLC                Trades Health Fund        311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                 Mallinckrodt       Kentucky Laborers
                 Pharmaceuticals    District Council Health
5246   2/16/2021 Limited            and Welfare Fund          311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                    Kentucky Laborers
                 Mallinckrodt ARD   District Council Health
5235   2/16/2021 LLC                and Welfare Fund          311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                 Mallinckrodt
                 Pharmaceuticals    Roofers’ Unions
5227   2/16/2021 Limited            Welfare Trust Fund        311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                    Roofers’ Unions
5226   2/16/2021 Mallinckrodt LLC   Welfare Trust Fund        311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                    Plumbers, Pipe Fitters
                                    and MES Local Union
                 Mallinckrodt ARD   No. 392 Health &
5217   2/16/2021 LLC                Welfare Fund              311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                    Plumbers Local 210
                                    Health and Welfare
5213   2/16/2021 Mallinckrodt LLC   Fund                      311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                    Plumbers Local 210
                 Mallinckrodt ARD   Health and Welfare
5206   2/16/2021 LLC                Fund                      311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                    Plumbers and
                 Mallinckrodt ARD   Pipefitters Local 502
5205   2/16/2021 LLC                Health and Welfare        311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                    Plumbers, Pipe Fitters
                 Mallinckrodt       and MES Local Union
                 Pharmaceuticals    No. 392 Health &
5165   2/16/2021 Limited            Welfare Fund              311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                 Mallinckrodt
                 Pharmaceuticals    Tri-County Building
5114   2/16/2021 Limited            Trades Health Fund        311 S. Wacker Drive   Suite 1050                        Chicago     IL      60606   $0.00   $0.00
                                                              Case 20-12522-JTD               Doc 8671-1   Filed 04/20/23   Page 14 of 14


                                    Dakotas and Western
                                    Minnesota Electrical
                 Mallinckrodt ARD   Industry Health and
5105   2/16/2021 LLC                Welfare Fund             311 S. Wacker Drive      Suite 1050                        Chicago     IL      60606   $0.00           $0.00
                                    Electrical Insurance
                                    Trustees Welfare Trust
3180   2/12/2021 Mallinckrodt LLC   Fund                     311 S. Wacker Drive      Suite 1050                        Chicago     IL      60606   $0.00           $0.00
                 Mallinckrodt       Electrical Insurance
                 Pharmaceuticals    Trustees Welfare Trust
3169   2/12/2021 Limited            Fund                     311 S. Wacker Drive      Suite 1050                        Chicago     IL      60606   $0.00           $0.00
                                    International Union of
                 Mallinckrodt       Operating Engineers
                 Pharmaceuticals    Local 399 Health &
3139   2/12/2021 Limited            Welfare Fund             311 S. Wacker Drive      Suite 1050                        Chicago     IL      60606   $0.00           $0.00
                                    Plumbers and
                                    Pipefitters Local 502
3099   2/12/2021 Mallinckrodt LLC   Health and Welfare       311 S. Wacker Drive      Suite 1050                        Chicago     IL      60606   $0.00           $0.00
                                    International Union of
                                    Operating Engineers
                                    Local 399 Health &
3097   2/12/2021 Mallinckrodt LLC   Welfare Fund             311 S. Wacker Drive      Suite 1050                        Chicago     IL      60606   $0.00           $0.00
                 Mallinckrodt       Automobile Mechanics’
                 Pharmaceuticals    Local No. 701 Union
3095   2/12/2021 Limited            and Industry Welfare     311 S. Wacker Drive      Suite 1050                        Chicago     IL      60606   $0.00           $0.00
                                    Plumbers and
                                    Pipefitters Local 502
3031   2/12/2021 Mallinckrodt plc   Health and Welfare       311 S. Wacker Drive      Suite 1050                        Chicago     IL      60606   $0.00           $0.00
                                                             c/o Donald E. Haviland   201 S. Maple St.
6204   2/16/2021 Mallinckrodt plc   Haviland Hughes          Jr.                      Suite 110                         Ambler      PA      19002   $0.00   $14,142,472.30
                 Mallinckrodt ARD                            c/o Donald E. Haviland   201 S. Maple St.
5265   2/16/2021 LLC                Haviland Hughes          Jr.                      Suite 110                         Ambler      PA      19002   $0.00   $14,142,472.30
